Case 1:17-cv-00462-TBD Document 109 Filed 07/24/18 Page 1 of 3 PageID #: 1142




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 BAYER INTELLECTUAL PROPERTY                     )
 GMBH, BA YER AG, and JANSSEN                    )
 PHARMACEUTICALS, INC.,                          )
                                                 )
                       Plaintiffs,               )
                                                 )
               V.                                )   C.A. No. 17-462 (RGA)
                                                 )   CONSOLIDATED
 TARO PHARMACEUTICAL INDUSTRIES                  )
 LTD. et al.,                                    )
                                                 )
                       Defendants.               )
                                                 )

                 STIPULATION AND ~ ORDER REGARDING
                    INFRINGEMENT OF U.S. PATENT NO. 9,539,218

        Plaintiff Bayer Intellectual Property GmbH, Bayer AG, and Janssen Pharmaceuticals, Inc.

 ("Plaintiffs") and Defendant InvaGen Pharmaceuticals, Inc. ("InvaGen") (collectively, "the

 Parties"), through their counsel, hereby STIPULATE and agree to the following for the purpose

 of streamlining issues for discovery and trial, and request that the Court ORDER as follows:

        1.     The use of the 10 mg, 15 mg, and 20 mg rivaroxaban tablets that are the subject of

 InvaGen's Abbreviated New Drug Application ("ANDA") No. 208543 (including any

 amendments or supplements thereto as to these dosage strengths only) that is the subject of this

 action ("InvaGen's ANDA Products"), in accordance with their labeling, infringes each of claims

 1-4 of U.S. Patent No. 9,539,218 ("the Asserted Claims of the '218 Patent"), provided that the

 claim is not proven invalid or unenforceable;

        2.     InvaGen will induce infringement of the Asserted Claims of the '218 Patent,

 provided the claim at issue is not proven invalid or unenforceable, through the sale of InvaGen's

 ANDA Products.
Case 1:17-cv-00462-TBD Document 109 Filed 07/24/18 Page 2 of 3 PageID #: 1143




       3.      As a result of the stipulation of infringement set forth herein, Plaintiffs agree that

they will not take any individual depositions of InvaGen or its API supplier or any individual

depositions of any current or former InvaGen employees, officers, or directors or the current or

former employees, officers or directors oflnvaGen's API supplier in this action and InvaGen and

its API supplier need not produce nor will Plaintiffs seek from them further discovery that relate

solely to issues of infringement of the Asserted Claims of the '218 patent.

       4.      Nothing in this stipulation shall preclude InvaGen from pursuing any properly

pleaded and disclosed defense contesting the validity and/or enforceability of any of the Asserted

Claims of the '218 Patent.

       5.      The Parties make this stipulation without prejudice to or waiver of their rights on

any appeal of any judgment of this Court, except with respect to the matters of infringement as

stipulated herein.

IT IS HEREBY STIPULATED:

MORRIS, NICHOLS, ARSHT & TUNNELL LLP              CAESAR RIVISE, PC


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                                                 2
Case 1:17-cv-00462-TBD Document 109 Filed 07/24/18 Page 3 of 3 PageID #: 1144




      SO ORDERED thiszq_ day of July, 2018




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